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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

OSSEO IMAGING, LLC,

               Plaintiff,

       v.
                                                       C.A. No. 17-1386-LPS-CJB
PLANMECA USA, INC.,

               Defendant.


                            UNOPPOSED MOTION TO EXTEND TIME

       Plaintiff Osseo Imaging, LLC, by and through its undersigned counsel, respectfully

moves to extend the deadline for defendant Planmeca USA, Inc., to move, answer, or otherwise

respond to the Complaint in this action until January 2, 2018.

Dated: October 30, 2017                            BAYARD, P.A.

OF COUNSEL:                                         /s/ Stephen B. Brauerman
                                                   Stephen B. Brauerman (No. 4952)
Seth H. Ostrow                                     Sara E. Bussiere (No. 5725)
Jeffrey P. Weingart                                600 North King Street, Suite 400
Antonio Papageorgiou                               P.O. Box 25130
Matthew H. Chung                                   Wilmington, Delaware 19801
MEISTER SEELIG & FEIN LLP                          (302) 655-5000
125 Park Avenue, 7th Floor                         sbrauerman@bayardlaw.com
New York, NY 10017                                 sbussiere@bayardlaw.com
(212) 655-3500
sho@msf-law.com                                    Attorneys for Plaintiff
jpw@msf-law.com                                    Osseo Imaging, LLC
ap@msf-law.com
mhc@msf-law.com


                IT IS SO ORDERED this                  day of __________, 2017.

                               _______________________________
                               The Honorable Leonard P. Stark
                               Chief United States District Judge
